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Case 3:13-cv-024@> Document 27 Filew/06/26/13 @-10 "EH Lod

OISTRICT COURT =
CLERIUS | al ay OF TX

IN THE UNITED STATES DISTRICT COURT FOR THE —RORTRERSS Up, x
NORTHERN DISTRICT OF TEXAS . “A
DALLAS DIVISION 13 JUN 26 AM S59 Wy
FLORA ZARATE, § AE
Plaintiff, § DEPUTY CLERK ~
§
VS. § Civil Action No.
§ a Q 4 -
NICHOLAS CONDER; § 3 13 C V-2437D
BATTEN & SHAW, INC., §
Defendants. § JURY TRIAL DEMANDED

DEFENDANTS NICHOLAS CONDER AND BATTEN & SHAW, INC.’S
NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:
COME NOW NICHOLAS CONDER AND BATTEN & SHAW, INC.,
Defendants in the above entitled and numbered cause and files this notice of removal under

28 U.S.C. §1446(a).

A. Introduction

1. Plaintiff is Flora Zarate, a resident of Dallas, Dallas County, Texas, who appears

by and through David S. Kohm and John M. Groce, Jr. of David S. Kohm & Associates.

2. On May 24, 2013, Plaintiff sued Defendants over a motor vehicle accident. The

suit was filed in the 192nd District Court of Dallas County, Texas.

3. Defendant NICHOLAS CONDOR was served with the suit on or about May 30,
2013. Defendant files this notice of removal within the 30-day time period required by 28

U.S.C. §1446(b).

 

NOTICE OF REMOVAL PAGE - 1 -

 
 

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4. Defendant BATTEN & SHAW, INC. was served with the suit on or about
May 31, 2013. Defendant files this notice of removal within the 30-day time period

required by 28 U.S.C. §1446(b).

B. Basis for Removal

5. Removal is proper because there is complete diversity between the parties. 28
U.S.C. §1332(a); Darden vy. Ford Consumer Fin. Co., 200 F.3d 753, 755 (11th Cir.
2000). Plaintiff is a citizen of Dallas, Dallas County, Texas. Defendant, Nicholas
Condor is a citizen of Parker, Douglas County, Colorado. Defendant Batten & Shaw, Inc.
is a corporation incorporated in the State of Tennessee and authorized to do business in
the State of Texas. The amount in controversy exceeds $75,000, excluding interest, costs,
and attorney fees. 28 U.S.C. §1332(a). Even though the Plaintiff did not claim specific
damages, on its face the damages exceed the jurisdictional limits as the plaintiff is
alleging physical injuries, physical in nature. Therefore, due the severity alleged by the
plaintiff, the damages incurred by the plaintiff, must exceed the jurisdictional amount in

controversy of this court unless plaintiff states otherwise.

6. All pleadings, process, orders, and other filings in the state court action are

attached to this notice as required by 28 U.S.C. §1446(a).

7. Venue is proper in this district under 28 U.S.C. §1441(a) because the state court

where the action has been pending is located in this district.

8. Defendants will promptly file a copy of this notice of removal with the clerk of

the state court where the action has been pending.

 

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C. Jury Demand

9. Plaintiff did not demand a jury in the state court action.
D. Conclusion

10. This Court has the proper jurisdiction on this matter as there is a complete
diversity of the parties and the amount in controversy exceeds controversy exceeds
$75,000, excluding interest, costs, and attorney fees. For these reasons, Defendants
NICHOLAS CONDOR and BATTEN & SHAW, INC. ask the Court to remove the

action to this federal court.

 
  
  
      
   

Respectfully submitted, Wy 4)
DAVID KLOSTERBOF bly |

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D. Defgade”
Texas Bar No. 24012546
1301 E. Collins Blvd., Suite 490/LB11
Richardson, TX 75081
(214) 570-6300 Main
(214) 570-6296 Direct
(214) 570-6262 Fax

vdelgado(@travelers.com

 
   
    

BAT
lj

      

 

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CERTIFICATE OF SERVICE
This is to certify that, on this the 26th day of June, 2013, a true and correct copy

of the foregoing document was forwarded to all counsel of record as follows:

 

David S. Kohm Hand Delivery

John M. Groce, Jr. _xx Facsimile

David S. Kohm & Associates Certified Mail, Return Receipt Requested
Receipted Commercial Delivery

Regular U.S. Mail

1414 W. Randol Mill Road, Suite 118
Arlington, Texas 76012
Facsimile 817-861-8900

Attorney for Plaintiff,
Flora Zarate

 

 

Vionette D. Delgado VAN

 

NOTICE OF REMOVAL PAGE -4-
FLORA ZARATE,

VS.

NICHOLAS CONDER AND BATTEN
& SHAW, INC.,

Case 3:13-cv-024@P Document 2 Filed 06/26/13 Me5of57 Pagel 7

CAUSE NO. DC-13-05741

IN THE DISTRICT COURT
PLAINTIFF,

§
;
§ 192ND JUDICIAL DISTRICT
§
§
§

DEFENDANTS. § DALLAS COUNTY, TEXAS

STATE COURT ACTION DOCUMENT INDEX

State Court Action Docket Sheet — Register of Actions

Plaintiffs Original Petition and Plaintiff's Request for Disclosure to Defendants,
Plaintiff's First Requests for Production to Defendant, Plaintiff's Interrogatories to
Defendants - filed on 5/24/2013

Issue Citation for Nicholas Condor and Batten & Shaw, Inc. — filed on 5/24/2013
Civil Case Information Sheet — filed on 5/24/2013

Executed Citation — Defendant Nicholas Conder —filed on 5/28/2013; served on
5/30/2013; returned on 6/11/2013

Executed Citation - Defendant Batten & Shaw, Inc. — filed on 5/28/2013; served on
5/31/2013; returned on 6/11/2013

Defendants’ Original Answer — General Denial — E-filed on 6/14/2013
Court’s Mediation Order — filed on June 19, 2013

Court’s Pre-Trial Order — filed on June 19, 2013

 
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REGISTER OF ACTIONS
CASE No. DC-13-05741

FLORA ZARATE vs. NICHOLAS CONDER, et al

OI UIUN COIN

Case Type:

Location : All District Civil Courts Images Help

MOTOR VEHICLE
ACCIDENT

Date Filed: 05/24/2013
Location: 192nd District Court

 

PARTY INFORMATION

DEFENDANTBATTEN & SHAW INC

DEFENDANT CONDER, NICHOLAS

PLAINTIFF ZARATE, FLORA

Lead Attorneys

VIONETTE D DELGADO
Retained

214-570-6300(W)

VIONETTE D DELGADO
Retained
214-570-6300(W)

DAVID S KOHM
Retained
817-861-8400(W)

 

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS
05/24/2013) ORIGINAL PETITION (OCA)
05/24/2013) ISSUE CITATION
05/24/2013) CASE FILING COVER SHEET
05/28/2013} CITATION
EL/ATTY

CONDER, NICHOLAS

BATTEN & SHAW INC

06/14/2013 | ORIGINAL ANSWER - GENERAL DENIAL

06/19/2013] ORDER - MEDIATION

Vol./Book 471K, Page 962, 2 pages

06/19/2013] ORDER - PRETRIAL

Vol./Book 471K, Page 971, 1 pages

06/02/2014] Non Jury Trial (9:00 AM) (Judicial Officer SMITH, CRAIG)

 

Served
Returned
Served
Returned

05/30/2013
06/11/2013
05/31/2013
06/11/2013

 

FINANCIAL INFORMATION

PLAINTIFF ZARATE, FLORA
Total Financial Assessment
Total Payments and Credits
Balance Due as of 06/25/2013

05/24/2013] Transaction
Assessment
05/24/2013] Transaction
Assessment

eee EES) Receipt # 29671-2013-DCLK

KOHM, DAVID S

http://courts.dallascounty .org/CaseDetail aspx?CaseID=4815718

268.00
268.00
0.00

252.00
16.00

(268.00)

6/25/2013

 
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SHAY 3
FLORA ZARATE IN THE PBUBTRICHCONRY,,,

  

Plaintiff,
V.

NICHOLAS CONDER;
BATTEN & SHAW, INC.

UP UP WO) LP WO) WG) Wn UO) UO

K-192nd

Defendants. § tN CIAL DISTRICT
PLAINTIFF’S ORIGINAL PETITION AND
PLAINTIFF’S REQUEST FOR DISCLOSURE TO DEFENDANTS
PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION TO DEFENDANTS
PLAINTIFE’S INTERROGATORIES TO DEFENDANTS

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES Flora Zarate, (hereinafter called “Plaintiff’), complaining of and about
Nicholas Conder and Batten & Shaw, Inc., Defendants, (hereinafter called “Defendants”), and for
cause of action shows unto the Court the following:

DISCOVERY CONTROL PLAN LEVEL |

L. Pursuant to Texas Rule of Civil Procedures Rule 47, Plaintiff seeks monetary
relief over $100,000 but not more then $200,000. Therefore, Plaintiff intends that discovery be
conducted under Discovery Level 2. Accordingly Plaintiff's Request for Disclosure to

Defendants, Plaintiff's Interrogatories to Defendants, and Plaintiff's Request: for Production to

Defendants are attached.

 

PLAINTIFF'S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
AND PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
Zarate v. Conder & Batten & Shaw, Inc. Page | of 16
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PARTIES AND SERVICE

2. Plaintiff Flora Zarate is an individual who resides in Dallas County, Texas.
Plaintiff Flora Zarate’ last three digits of her social security number is 227. The last three digits
of her Texas driver’s license number is I 11.

3. Defendant Nicholas Conder is a resident of the State of Colorado and may be
served with process at 8831 Apache Plume Drive, Parker, Colorado, 80 134, Pursuant to Section
17.062 of the Texas Civil Practices and Remedies Code, the Chair of the Texas Transportation
Commission, Ted Houghton, is an agent of process for Defendant Nicholas Conder because this
suit arises from a collision in which Defendant Nicholas Conder was operating a motor vehicle
on the public roads of the State of Texas.

4, Defendant Batten & Shaw, Inc., is foreign corporation organized and existing
under the laws of the State of Texas. Plaintiff is suing Batten & Shaw, Inc., in it’s common
name pursuant to Texas Rules of Civil Procedure 28. Batten & Shaw, Inc. may be served with
process, via private process on it’s registered agent Corporation Service company, d/b/a CSC-

Lawyers Incorporating Service Company, 211 E. 7" St., Ste. 620, Austin, TX 78701-3218.

JURISDICTION AND VENUE
5. The subject matter in controversy is within the jurisdictional limits of this court.
6. Venue in Dallas County is proper because that is where the accident occurred.
MISNOMER/ALTER-EGO
8. In the event any parties are misnamed or not included herein, it is Plaintiff's

contention that such was a “misnomer” and/or such parties are/were “alter egos” of parties named

herein.

 

PLAINTIFF'S ORIGINAL PETITION AND PLAINTIFF’S REQUEST FOR DISCLOSURE
AND PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF’S INTERROGATORIES
Zarate v. Conder & Batten & Shaw, Inc. Page 2 of 16
 

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FACTS

9. On or about August 31, 2011 Plaintiff Flora Zarate was driving a vehicle
southbound on Preston Road, Dallas, Dallas County, Texas. Defendant Nicholas Conder, while
in the scope of employment of Defendant Batten & Shaw, Inc., was driving a vehicle owned by
Defendant Batten & Shaw, Inc., and was driving a vehicle behind Plaintiff. Plaintiff was stopped
at a red light when Defendant Nicholas Conder, who had been drinking alcohol, and was driving
without a valid driver’s license, failed to control his speed and pay proper attention, failed to
timely apply his brakes, and collided into the rear of Plaintiff's vehicle. Defendants’ negligence
was the sole and proximate cause of the accident subject of this suit and Plaintiff's damages.

PLAINTIFF’S CLAIMS OF NEGLIGENCE
AGAINST NICHOLAS CONDER

10. | Defendant Nicholas Conder had a duty to exercise the degree of care that a
reasonably careful person would use to avoid harm to others under circumstances similar to those
described herein.

11. — Plaintiff’s injuries were proximately caused by said Defendant’s negligent,
careless and reckless disregard of said duty.

12. The negligent, careless and reckless disregard of duty of said Defendant consisted

of, but is not limited to, the following acts and omissions:

“A. In that said Defendant failed to take proper evasive action;

B. In that said Defendant failed to keep such distance away from other motor
vehicles on the roadway as a person using ordinary prudent care would
have done;

 

PLAINTIFF’S ORIGINAL PETITION AND PLAINTIFF’S REQUEST FOR DISCLOSURE
AND PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
Zarate v. Conder & Batten & Shaw, Inc. : Page 3 of 16
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Cc. In that said Defendant failed to control his vehicle as an ordinary person
would have done in this circumstance so as to avoid colliding into other
vehicles on the roadway;

D. In that said Defendant failed to control his speed and pay proper attention;

E. An that said Defendant was driving a vehicle without a valid driver’s
license;
F. _ In that said Defendant was operating a vehicle while intoxicated and/or

was under the influence of alcohol or a controlled substance; and
F. In that said Defendant failed to timely apply his brakes.
NEGLIGENCE PER SE

13. Atthe time of the incident in question, and immediately prior thereto, Defendant
had a duty to comply with that standard of care set forth by Texas Penal Code §49.04. Plaintiff
would show that the conduct of Defendant constitutes a violation of Sections 49.07 and 49.08 of
the Texas Penal Code. The conduct of Defendant also violated various provisions of the Texas
Transportation Code including, but not limited to, the following: §545.401(a), and Defendant
failed to exercise the mandatory standard of care in violation of Transportation Code, Sections
545.401(a) and the Texas Penal Code Sections 49.04(a) and 49.07 pursuant to the doctrine of
negligence per se, which mandates that:

§545.401(a) | A person commits an offense if the person drives a vehicle in willful
or wanton disregard for the safety of persons or property.

§49.04(a) A person commits an offense if the person is intoxicated while
operating a motor vehicle in a public place.

§49.07 A person commits an-offense if the person, by accident or mistake
while operating a motor vehicle in a public place while intoxicated,
by reason of that intoxication causes serious bodily injury to another.

 

PLAINTIFE’S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
AND PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
Zarate v. Conder & Batten & Shaw, Inc. Page 4 of 16
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PLAINTIFF’S CLAIM OF GROSS NEGLIGENCE
AGAINST DEFENDANT NICHOLAS CONDER

14. Plaintiff also claims that Defendant, Nicholas Conder is guilty of gross
negligence and/or malice pursuant to Texas law existing at the time of the incident in question.

15. More specifically, Defendant’s speed, driving his vehicle while intoxicated, lack
of attention, and ecklessness in the operation of his motor vehicle at the time of the incident in
question was such an act of carelessness and recklessness that it resulted in the collision with
Plaintiff.

16. Such gross negligence and entire want of care for the safety and welfare of others
amounts to conscious disregard for the safety and welfare of others on the roadway and is gross
negligence and/or malice as that term is known and defined by Texas law.

17. Furthermore, such gross negligence and/or malice gives rise to Defendant’s
liability to Plaintiff for exemplary/punitive damages, which Plaintiff prays for herein.

PLAINTIFF’S CLAIM OF NEGLIGENT ENTRUSTMENT AGAINST
BATTEN & SHAW, INC.

18. Defendant Batten & Shaw, Inc. had a duty to exercise the degree of care that a
reasonably careful person would use to avoid harm to others under circumstances similar to those
described herein.

19. The negligent, careless and reckless disregard of duty of said Defendant consisted

of, but is not limited to, the following acts and omissions:

 

 

PLAINTIFF’S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
AND PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
Zarate v. Conder & Batten & Shaw, Inc. Page 5 of 16
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@ | @

A. In that Defendant negligently entrusted a vehicle to a reckless driver.

B. Plaintiff pleads that Defendant negligently entrusted a vehicle to a known
unsafe, unlicensed, or incompetent driver.

PLAINTIFF’S CLAIM OF RESPONDEAT SUPERIOR AGAINST
BATTEN & SHAW, INC.

20. At the time of the occurrence of the act in question and immediately prior thereto,
Defendant Nicholas Conder was within the course and scope of employment for Defendant,
Batten & Shaw, Inc.

21. At the time of the occurrence of the act in question and immediately prior thereto,

Defendant Nicholas Conder was engaged in the furtherance of Defendant Batten & Shaw, Inc.

22. At the time of the occurrence of the act in question and immediately prior thereto,

Defendant Nicholas Conder was engaged in accomplishing a task for which Batten & Shaw, Inc.
was employed.

23. Plaintiff invokes the doctrine of Respondeat Superior against Batten & Shaw, Inc.

DAMAGES FOR PLAINTIFF FLORA ZARATE
24. Asadirect and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff Flora Zarate was caused to suffer injuries to her head, neck, back, and her body in
general, and to incur the following damages:
A. Reasonable medical care and expenses in the past. These expenses were

incurred by Plaintiff for the necessary care and treatment of the injuries
resulting from the accident complained of herein and such charges are

reasonable and were usual and customary charges for such services Dallas |

County, Texas;

B.: Reasonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

 

PLAINTIFF'S ORIGINAL PETITION AND PLAINTIFF’S REQUEST FOR DISCLOSURE
AND PLAINTIFEF’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
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C. Physical pain and suffering in the past;
D. Physical pain and suffering in the future;

E. Mental anguish in the past;

F. Mental anguish in the future;

G. Physical impairment in the past;

H. Physical impairment in the future;

L Lost wages in the past;

J. Lost earning capacity in the past & future;

K. Exemplary/punitive damages as alleged herein.

PLAINTIFFS’ REQUEST FOR DISCLOSURE TO DEFENDANT
Pursuant to Rule 194 of the Texas Rules of Civil Procedure, you are requested to
disclose, within 50 days of service of this request, the information or material as set forth in
Texas Rules of Civil Procedure 194.2 (a)-(I). A response to a request under Rule 194.2 is due
according to Rule 195.2 of the Texas Rules of Civil Procedure.
The disclosures must be signed in accordance with Texas Rules of Civil Procedure, Rule
191.3, and delivered to the undersigned attorney. If you fail to comply with the requirements

above, the Court may order sanctions against you in accordance with the Texas Rules of Civil

Procedure.

 

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
AND PLAINTIFFS? FIRST REQUESTS FOR PRODUCTION AND PLAINTIFFS’ INTERROGATORIES
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18. Billing records for the month of August 201 1, which includes the date of August 31,
2011, for each cellular telephone owned or operated by you at the time of the collision made the
basis of this suit.

19. Defendant's complete driving record for the 10 years preceding the incident made the
basis of this suit, or an executed authorization allowing Plaintiffs or his counsel to obtain
such documents.

20. For each consulting expert whose work product or opinions have been reviewed or
relied upon by a testifying expert in this case, please produce all documents reflecting the
expert's name, address and telephone number and the general substance of the expert's
mental impressions and opinions and a brief summary of the basis for them, the expert's
current resume and bibliography, and all documents, tangible things, reports, models, or data
compilations that have been provided to, reviewed by, or prepared by or for the consulting
expert in connection with this case.

21. Documents sufficient to identify each claim made against Defendant in the State of
Texas in the last ten years that are similar to the claims made by Plaintiffs, i.e. where an
individual is alleged to have been injured or damaged as a result of Defendant's negligent
operation of a motor vehicle.

22. If Defendant was acting in the course and scope of employment with any person or
entity at the time of the collision in question, all personnel records of Defendant for the ten year
period preceding the incident in question through the present date including all incident and
accident reports contained in Defendant’s employer’s files.

23. Copies of all procedures or manuals used in evaluation of Plaintiffs claim used by
Defendant, his employees, agents, or representatives, made the basis of this lawsuit.

24. Produce a full and complete certified copy of all liability insurance policies issued
by any insurance company in which Defendant is a named insured and/or 4 covered person/entity
or company that were in full force at the date and/or the time of the occurrence in question.

25. Produce a full and complete certified declaration page for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered ~
person/entity or company that were in full force at the date and/or the time of the occurrence in
question.

26. Produce a full and complete copy of all applications for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered
person/éntity or company that were in full force at the date and/or the time of the occurrence in
question.

 

 

PLAINTIFFS’ ORIGENAL PETITION AND PLAINTIFES’ REQUEST FOR DISCLOSURE
AND PLAINTIFFS’ FIRST REQUESTS FOR PRODUCTION AND PLAINTIFFS’ INTERROGATORIES
Zarate v, Conder & Batten & Shaw, Inc. Page 8 of 16

 
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! NO.
FLORA ZARATE § IN THE DISTRICT COURT
§
Plaintiff, §
§ .
V. § DALLAS COUNTY, TEXAS
§
NICHOLAS CONDER; §
BATTEN & SHAW, INC. §
§
Defendants. § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION AND
PLAINTIFE’S REQUEST FOR DISCLOSURE TO DEFENDANTS
PLAINTIFE’S FIRST REQUESTS FOR PRODUCTION TO DEFENDANTS
PLAINTIFE’S INTERROGATORIES TO DEFENDANTS

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES Flora Zarate, (hereinafter called “Plaintiff’), complaining of and about
Nicholas Conder and Batten & Shaw, Inc., Defendants, (hereinafter called “Defendants”), and for
cause of action shows unto the Court the following:

DISCOVERY CONTROL PLAN LEVEL

1. Pursuant to Texas Rule of Civil Procedures Rule 47, Plaintiff seeks monetary
relief over $100,000 but not more then $200,000. Therefore, Plaintiff intends that discovery be
conducted under Discovery Level 2. Accordingly Plaintiff's Request for Disclosure to

Defendants, Plaintiff's Interrogatories to Defendants, and Plaintiff's Request for Production to .

Defendants are attached.

 

 

PLAINTIFE’S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
AND PLAINTIFE’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES
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PARTIES AND SERVICE

2, Plaintiff Flora Zarate is an individual who resides in Dallas County, Texas.
Plaintiff Flora Zarate’ last three digits of her social security number is 227. The last three digits
of her Texas driver’s license number is |] 1. |

3, Defendant Nicholas Conder is a resident of the State of Colorado and may be
served with process at 883] Apache Plume Drive, Parker, Colorado, 80134, Pursuant to Section
17.062 of the Texas Civil Practices and Remedies Code, the Chair of the Texas Transportation
Commission, Ted Houghton, is an agent of process for Defendant Nicholas Conder because this
suit arises from a collision in which Defendant Nicholas Conder was operating a motor vehicle
on the public roads of the State of Texas.

4. Defendant Batten & Shaw, Inc., is foreign corporation organized and existing
under the laws of the State of Texas. Plaintiff is suing Batten & Shaw, Inc., in it’s common
name pursuant to Texas Rules of Civil Procedure 28. Batten & Shaw, Inc. may be served with
process, via private process on it’s registered agent Corporation Service company, d/b/a CSC-

Lawyers Incorporating Service Company, 211 E. 7" St., Ste. 620, Austin, TX 78701-3218.

JURISDICTION AND VENUE
5. The subject matter in controversy is within the jurisdictional limits of this court.
6. _Venue in Dallas County is proper because that is where the accident occurred.
MISNOMER/ALTER-EGO
8. In the event any parties are misnamed or not included herein, it is Plaintiff's

contention that such was a “misnomer” and/or such parties are/were “alter egos” of parties named

herein.

 

PLAINTIFF'S ORIGINAL PETITION AND PLAINTIFE’S REQUEST FOR DISCLOSURE
AND PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFE’S INTERROGATORIES
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FACTS

9. On or about August 31, 2011 Plaintiff Flora Zarate was driving a vehicle
southbound on Préston Road, Dallas, Dallas County, Texas. Defendant Nicholas Conder, while
in the scope of employment of Defendant Batten & Shaw, Inc., was driving a vehicle owned by
Defendant Batten & Shaw, Inc., and was driving a vehicle behind Plaintiff. Plaintiff was stopped
at a red light when Defendant Nicholas Conder, who had been drinking alcohol, and was driving
without a valid driver’s license, failed to control his speed and pay proper attention, failed to
timely apply his brakes, and collided into the rear of Plaintiffs vehicle. Defendants’ negligence
was the sole and proximate cause of the accident subject of this suit and Plaintiff's damages.

PLAINTIFE’S CLAIMS OF NEGLIGENCE
AGAINST NICHOLAS CONDER

10. Defendant Nicholas Conder had a duty to exercise the degree of care that a
reasonably careful person would use to avoid harm to others under circumstances similar to those
described herein.

11. Plaintiff's injuries were proximately caused by said Defendant’s negligent,
careless and reckless disregard of said duty.

12. The negligent, caréless and reckless disregard of duty of said Defendant consisted
of, but is not limited to, the following acts and omissions:

A. In that said Defendant failed to take proper evasive action;
B. In that said Defendant failed to keep such distance away from other motor

vehicles on the roadway as a person using ordinary prudent care would
have done;

 

 

PLAINTIFE’S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
AND PLAINTLFF’S FIRST REQUESTS FOR PRODUCTION AND PLAINTIFF'S INTERROGATORIES .
Zarate v. Conder & Batten & Shaw, Inc. Page 3 of 16
 

 

C. In that said Defendant failed to contro! his vehicle as an ordinary person
would have done in this circumstance so as to avoid colliding into other
vehicles on the roadway;

D. In that said Defendant failed to control his speed and pay proper attention;

E. In that said Defendant was driving a vehicle without a valid driver’s
license;

F. In that said Defendant was operating a vehicle while intoxicated and/or

was under the influence of alcohol or a controlled substance; and
F. In that said Defendant failed to timely apply his brakes.
NEGLIGENCE PER SE

13. At the time of the incident in question, and immediately prior thereto, Defendant
had a duty to comply with that standard of care set forth by Texas Penal Code §49.04. Plaintiff
would show that the conduct of Defendant constitutes a violation of Sections 49.07 and 49.08 of
the Texas Penal Code. The conduct of Defendant also violated various provisions of the Texas
Transportation Code including, but not limited to, the following: §545.401(a), and Defendant
failed to exercise the mandatory standard of care in violation of Transportation Code, Sections
§45.401(a) and the Texas Penal Code Sections 49.04(a) and 49.07 pursuant to the doctrine of
negligence per se, which mandates that:

§545.401(a) A person commits an offense if the person drives a vehicle in willful
or wanton disregard for the safety of persons or property.

§49.04(a) A person commits an offense if the person is intoxicated while
operating a motor vehicle in a public place.

§49.07 A person commits an offense if the person, by accident or mistake
while operating a motor vehicle in a public place while intoxicated,
by reason of that intoxication causes serious bodily injury to another.

 

PLAINTIEF’S ORIGINAL PETITION AND PLAINTIFF’S REQUEST FOR DISCLOSURE
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PLAINTIFF’S CLAIM OF GROSS NEGLIGENCE
AGAINST DEFENDANT NICHOLAS CONDER

14. Plaintiff also claims that Defendant, Nicholas Conder is guilty of gross
negligence and/or malice pursuant to Texas law existing at the time of the incident in question.

15. More specifically, Defendant’s speed, driving his vehicle while intoxicated, lack
of attention, and recklessness in the operation of his motor vehicle at the time of the incident in
question was such an act of carelessness and recklessness that it resulted in the collision with
Plaintiff.

16. Such gross negligence and entire want of care for the safety and welfare of others

amounts to conscious disregard for the safety and welfare of others on the roadway and is gross
negli gence and/or malice as that term is known and defined by Texas law.

17. Furthermore, such gross negligence and/or malice gives rise to Defendant’s
liability to Plaintiff for exemplary/punitive damages, which Plaintiff prays for herein.

PLAINTIFF’S CLAIM OF NEGLIGENT ENTRUSTMENT AGAINST
BATTEN & SHAW, INC.

18. Defendant Batten & Shaw, Inc. had a duty to exercise the degree of care that a
reasonably careful person would use to avoid harm to others under circumstances similar to those
described herein.

19. The negligent, careless and reckless disregard of duty of said Defendant consisted

of, but is not limited to, the following acts and omissions:

 

 

PLAINTIFF'S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
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A. In that Defendant negligently entrusted a vehicle to a reckless driver.

B. Plaintiff pleads that Defendant negligently entrusted a vehicle to a known
unsafe, unlicensed, or incompetent driver.

PLAINTIFF’S CLAIM OF RESPONDEAT SUPERIOR AGAINST
BATTEN & SHAW, INC.

20. At the time of the occurrence of the act in question and immediately prior thereto,
Defendant Nicholas Conder was within the course and scope of employment for Defendant,
Batten & Shaw, Inc.

21. At the time of the occurrence of the act in question and immediately prior thereto,
Defendant Nicholas Conder was engaged in the furtherance of Defendant Batten & Shaw, Inc.

22. At the time of the occurrence of the act in question and immediately prior thereto,
Defendant Nicholas Conder was engaged in accomplishing a task for which Batten & Shaw, Inc.
was employed. |

23. Plaintiff invokes the doctrine of Respondeat Superior against Batten & Shaw, Inc.

DAMAGES FOR PLAINTIFF FLORA ZARATE
24. Asa direct and proximate result of the occurrence made the basis of this lawsuit,
Plaintiff Flora Zarate was caused to suffer injuries to her head, neck, back, and her body in
general, and to incur the following damages:

A. Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiff for the necessary care and treatment of the injuries
resulting from the accident complained of herein and such charges are
reasonable and were usual and customary charges for such services Dallas

County, Texas;

B. Reasonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

 

 

PLAINTIFF’S ORIGINAL PETITION AND PLAINTIFF'S REQUEST FOR DISCLOSURE
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C. Physical pain and suffering in the past;
D. Physical pain and suffering in the future,

E. Menta! anguish in the past;

F. Mental anguish in the future;

G. Physical impairment in the past;

H. Physical impairment in the future;

I. Lost wages in the past;

J. Lost earning capacity in the past & future;

K. Exemplary/punitive damages as alleged herein.

PLAINTIFFS’ REQUEST FOR DISCLOSURE TO DEFENDANT

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, you are requested to
disclose, within 50 days of service of this request, the information or material as set forth in
Texas Rules of Civil Procedure 194.2 (a)-(). A response to a request under Rule 194.2 is due
according to Rule 195.2 of the Texas Rules of Civil Procedure.

The disclosures must be signed in accordance with Texas Rules of Civil Procedure, Rule
191.3, and delivered to the undersigned attomey. If you fail to comply with the requirements
above, the Court may order sanctions against you in accordance with the Texas Rules of Civil

Procedure.

 

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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PLAINTIFE’S FIRST REQUESTS FOR PRODUCTION

“DEFENDANTS” NICHOLAS CONDER AND BATTEN & SHAW, INC.,
(hereinafter called “Defendant”) pursuant to Rule 196 of the Texas Rules of Civil Procedure, are
requested to respond to Plaintiffs’ attorneys, (as undersigned below) on or before 50 days after
service of this original petition and first requests for production, the following documents and
things:

Defendants are hereby requested to produce originals or true, correct, complete, legible
and unaltered copies of the following items:

1. The front and back of your driver's license.

2. The title to the vehicle you were driving at the time of the collision made the basis
of this suit.

3. Any and all photographs, slides, motion pictures, videotapes and other films that
Defendant has of the vehicles, parties or scene in question following the collision made the
basis of this suit.

4. All records of any type indicating that there were any mechanical or cosmetic
problems or repairs concerning the vehicles involved in the collision in question during the
twelve months preceding the collision.

5. Any and all accident or incident reports prepared in connection with the incident in
question.

6. All exhibits Defendant will introduce at trial.

7. All records obtained from claims reporting services, including but not limited to the

Southwest Index Bureau (SWIB) and Choicepoint Consumer Center (CLUE), regarding the
Plaintiffs.

8. Any and all records obtained from past or present employers of Plaintiff for use in
this litigation.

9. The Defendant's claim file(s) relative to the claim made the basis of this suit,
prepared and compiled up to the date this suit was filed in this Court, including but not
limited to all notes, records, entries, documents, memos, correspondence, photographs, ~
videotapes, and written information contained therein.

 

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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10. All documents which Defendant may use under Texas Rules of Evidence to impeach
testimony given by Plaintiffs or other witnesses in this case.

11. All documents reflecting medical reviews or audits conducted on Plaintiff's medical
treatment or expenses, including correspondence between defendant and/or his insurance
company and counsel and medical review personnel.

12. All accident reconstruction reports prepared by or for Defendant in connection with
the collision made the basis of this suit.

13. Any and all repair estimates concerning repairs to the vehicles involved in the
collision made the basis of this lawsuit for damages sustained in the collision in question.

14. Documentation of any property damage or personal property damage payment(s)
made to Plaintiffs or Defendant in connection with the collision made the basis of this suit.

15. | Documents reflecting the disposition of any traffic citation you received in
connection with the collision made the basis of this suit.

16. Documents sufficient to identify the charge and resolution of any of your criminal
convictions for felony offenses or crimes involving moral turpitude within the past ten years.

17, Documents sufficient to identify and describe any corrective lenses used by you or
prescribed for you at the time of the collision made the basis of this suit.

18. Billing records for the month of August 2011, which includes the date of August 31,
2011, for each cellular telephone owned or operated by you at the time of the collision made the
basis of this suit. ' :

19. Defendant's complete driving record for the 10 years preceding the incident made the
basis of this suit, or an executed authorization allowing Plaintiffs or his counsel to obtain
such documents.

20. For each consulting expert whose work product or opinions have been reviewed or
relied upon by a testifying expert in this case, please produce all documents reflecting the
expert's name, address and telephone number and the general substance of the expert's
mental impressions and opinions and a brief summary of the basis for them, the expert's
current resume and bibliography, and all documents, tangible things, reports, models, or data
compilations that have bzen provided to, reviewed by, or prepared by or for the consulting
expert in connection with this case.

 

PLAINTIFFS’? ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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21. Documents sufficient to identify each claim made against Defendant in the State of
Texas in the last ten years that are similar to the claims made by Plaintiffs, i.e. where an
individual is alleged to have been injured or damaged as a result of Defendant's negligent
operation of a motor vehicle.

22. . If Defendant was acting in the course and scope of employment with any person or
entity at the time of the collision in question, all personnel records of Defendant for the ten year
period preceding the incident in question through the present date including all incident and
accident reports contained in Defendant’s employer’s files.

23. Copies of all procedures or manuals used in evaluation of Plaintiffs claim used by
Defendant, his employees, agents, or representatives, made the basis of this lawsuit.

24. Produce a full and complete certified copy of all liability insurance policies issued
by any insurance company in which Defendant is a named insured and/or a covered person/entity
or company that were in full force at the date and/or the time of the occurrence in question.

25. Produce a full and complete certified declaration page for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered
person/entity or company that were in full force at the date and/or the time of the occurrence in
question.

26. Produce a full and complete copy of all applications for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered
person/entity or company that were in full force at the date and/or the time of the occurrence in
question.

27. Produce a full and complete certified copy of all umbrella and/or excess and/or secondary
liability insurance policies issued by any insurance company in which Defendant is a named.
insured and/or a covered person/entity or company that were in full force at the date and/or the
time of the occurrence in question.

28. Produce a full and complete certified declaration page for all umbrella and/or excess
and/or secondary liability insurance policies issued by any insurance company in which
Defendant is a named insured and/or a covered person/entity or company that were in full force
at the date and/or the time of the occurrence in question.

29 Produce a full and complete copy of all applications for all umbrella and/or excess and/or
secondary liability insurance policies issued by any insurance company in which Defendant is a
named insured and/or a covered person/entity or company that were in full force at the date
and/or the time of the occurrence in question.

 

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30. Produce a full and complete certified copy(s) of any and all insurance agreements and/or
policies, including, but not limited to, primary, umbrella, personal umbrella, excess, secondary
policies (and including al! endorsements, schedules and amendments) applicable to the date,
incident or claims in question (regardless of whether on a claims made or occurrence basis)
potentially obligating any insurance company(s) to pay a potential judgment in this case for the
claims asserted against the Defendant.

31. In the event the claims upon which the lawsuit is based are being handled by any
insurance carrier under a reservation of rights, please produce a full and complete copy of all
communications to and from the carrier(s) concerning any and all such reservations.

32. In the event the pertinent policies are aggregate policies and the annual aggregates have
been reduced, please produce a copy of any and all settlement documents and/or agreements
relevant to the payment of such claims that have caused any reduction of such aggregates.

33. In the event the pertinent policies are “wasting” policies (for example, the payment by the
insurance carrier of the defense attorney’s fees and costs and expenses reduce the available
liability policy limits), please produce a copy of any and all documents, invoices, receipts and
canceled checks relevant to the payment of such defense litigation costs and expenses that have
caused any reduction of such liability policy limits.

34. Full and complete copies of any and all documents and records concerning the Plaintiff
that were obtained by and/or in the possession of Defendant from any source.

35. Full and complete copies of any and all medical records and information concerning the
Plaintiff that were obtained by and/or in the possession of Defendant from any source.

36. Full and complete copies of any and all medical bills concerning the Plaintiffs that were
obtained by and/or in the possession of Defendant from any source.

37. Full and complete copies of any and all depositions on written questions including all
exhibits, records and documents and things attached thereto from any person, company, entity,
or source obtained by and/or in the possession of Defendant from any source concerning any
issue or party or witness or potential witness in this case.

38. Full and complete copies of any and all employment records and documents concerning
the Plaintiff that were obtained by and/or in the possession of Defendant from any source.

 

PLAINTIFES' ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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39. Full and complete copies of any and all medical information and/or records and/or
documentation, including but not limited to medical records, medical expenses, x-rays or any
other diagnostic test, employment records, criminal records, social security records, -
divorce/family law related records, educational records, unemployment records, disability
records, health insurance records and/or any other insurance records or information, concerning
the Plaintiffs that were obtained by and/or in the possession of Defendant through deposition,
deposition on written questions, subpoena, court order, authorization or any other source.

INTERROGATORIES
TO: “DEFENDANTS”

Please take notice that pursuant to Rules 192 and 197 of the Texas Rules of Civil Procedure,
Plaintiffs serve the attached interrogatories to be propounded to Defendants NICHOLAS CONDER
AND BATTEN & SHAW,INC. You are hereby instructed to answer the following interrogatories
separately, fully, in writing, and under oath if required by Rule 197.2(d) of the Texas Rules of Civil
Procedure. The answers shall be served upon the undersigned counsel within 50 days after the
service of these interrogatories.

Your failure to make timely answers or objections may subject you to sanctions as
provided in Rule 215 of the Texas Rules of Civil Procedure. Furthermore, demand is made for
the supplementation of your answers to these interrogatories as required by Rule 193.5 of the

‘Texas Rules of Civil Procedure.

INTERROGATORY NO. 1:

Please state the full name, address, telephone number, date of birth, driver's license
number, social security number, and occupation of the person answering these interrogatories.

ANSWER:

INTERROGATORY NO. 2:

Please give the name, address and telephone number of |) the operator and 2) the owner
of the motor vehicle which was involved in the collision made the basis of this lawsuit?

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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ANSWER:

INTERROGATORY NO. 3:

Please state whether or not any insurer has denied you coverage, or indicated that it is
reserving its right to deny coverage, refuses to provide a defense, or refuses to pay all or part of
any judgment, and, if so, please identify every document containing or referring to any such
denial, refusal, or reservation of rights.

ANSWER:

INTERROGATORY NO. 4:

Please state the amount of liability coverage on the vehicle which you owned or were
driving at the time of the accident subject of this lawsuit.

ANSWER:

INTERROGATORY NO. 5:

List all criminal arrests and/or charges against you, your predecessors, affiliates, or
subsidiaries, or divisions by giving the cause number; identities of all accused; court of
jurisdiction; description of criminal charges; date and place of arrest; plea made; date of trial
and/or plea bargain; whether or not convicted and on what charges; time served; date of release
from confinement; whether or not granted pardon or parole, and if so, date pardon granted or
parole was or will be successfully completed.

ANSWER:

INTERROGATORY NO. 6:

For any consulting experts whose mental impressions and opinions have been reviewed
by a testifying expert, please state or provide all the discovery authorized by Rule 192.3(e). A
complete answer will include a list of all witness fees paid within the past five years.

ANSWER:

 

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INTERROGATORY NO. 7:

Do you, your attommeys or investigators or anyone acting on your behalf, have any maps,
charts, diagrams, photographs, videos, motion pictures, and/or recordings taken of the scene of
this incident, or of any of the physical or mechanical objects, or of the person involved in this
incident? If yes, then please indicate your willingness to allow Plaintiffs to inspect and copy or
photograph the same.

ANSWER:

INTERROGATORY NO. 8:

Please state completely and fully all representations, statements, declarations or
admissions made by any Plaintiff herein or any agent, servant or employee of Plaintiff(s).
Include in your answer when the communication was made, the total verbatim communication
and, if that is not possible, then state the detailed substance of the communication, by whom the
communication was made, where such communication took place, and all persons present when
such communication was made.

ANSWER:

INTERROGATORY NO. 9: |

Please identify (by title, author, editor, edition, publisher, date of publication, section,
portion, and page) every published treatises, periodical, or pamphlet on a subject of history,
medicine, or other science or art that you may offer to use in the trial of this case under Rule
803(18) of the Texas Rules of Evidence.

ANSWER:

INTERROGATORY NO. 10:

Do you contend that any personal injuries or damages sustained by any Plaintiff herein
was caused by an occurrence other than this accident, such as a disease or physical condition,
either before or after the incidents made the basis of this case? If so, describe in detail such other
occurrence, disease, injury or condition.

ANSWER:

 

 

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INTERROGATORY NO. 11:

Do you contend that any Plaintiff herein or third party violated any traffic laws at the time
or immediately prior to the collision? If so, describe what you contend to be the violation or give
the statute number of the violation.

ANSWER:

INTERROGATORY NO. 12:

If you contend that the collision in question was an "unavoidable accident,” describe in
detail what you believe to be the cause of the accident, to the exclusion of the conduct of any
Plaintiff or Defendant.

ANSWER:

INTERROGATORY NO. 13:

If you contend that someone else's conduct or something else is the “sole proximate
cause" of the accident in question, describe in detail the identity of that person, or what exactly
caused the collision.

ANSWER:

INTERROGATORY NO. 14:

Do you intend to attempt to impeach any Plaintiff herein, or any employee, agent,
representative, attorney or any other natural person or business or legal entity associated in any
way with or acting or purporting to act for or on behalf of any Plaintiff herein, with evidence of a
criminal conviction, if any, as described in Rule 609 of the Texas Rules of Evidence? If so,
please describe in detail such evidence, giving name of accused, nature of conviction and charges
~ on which convicted, year of conviction and. whether or not parole has been successfully

completed or pardon granted.

ANSWER:

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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INTERROGATORY NO. 15:

State the Style, Court and Cause number of any lawsuit you have been a party to and the
final disposition of said suit.

ANSWER:

INTERROGATORY NO. 16:

Please state where Defendant had been just prior to the collision, where Defendant was
going at the time of the collision, and the purpose of the trip.

ANSWER:

INTERROGATORY NO. 17:

Please state any and all traffic violations Defendant has had in the ten (10) years
preceding this collision. Please indicate if Defendant had his driving license revoked due to any
of thes€ violations and the period of time his license was revoked.

ANSWER:

INTERROGATORY NO. 18:

Please state whether Defendant has had any other motor vehicle accidents in the past ten
(10) years. Ifso, please list the date and location of such accident, the parties involved and a
factual description of the accident.

ANSWER: .

INTERROGATORY NO. 19:

Please give a detailed description of exactly how the collision made the basis of the
lawsuit occurred. Please indicate in your description the speed or estimated speed that the
vehicles were traveling at the time of the incident. On the back of this sheet, please draw a
diagram to indicate the location of the accident and the direction that the vehicles were traveling
at the time of the collision.

 

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ANSWER:

INTERROGATORY NO. 20:

Please indicate the speed or estimated speed that the vehicles were traveling at the time of
the incident, including your speed at the time of the impact, and if you contend you applied your
brakes prior to impact, and what speed you were traveling prior to applying your brakes.

ANSWER:

INTERROGATORY WO. 21:

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Describe any defect that you believe, or have reason to believe, was present in the road or
in the marking or signage on the road that either caused or contributed to the collision in
question.

ANSWER:

INTERROGATORY NO. 22:

Describe any belief that you may hold that the weather or a weather condition was a
factor or contributed in any way to the collision in question.

ANSWER:

INTERROGATORY NO. 23:
Where you in the course and scope of your employment at the time of the accident? If so,
state the full name, telephone number, address and your immediate supervisor for your employer

and indicate if you hold or held any ownership interest in this business.

ANSWER:

 

PLAINTIFFS’ ORIGINAL PETITION AND PLAINTIFES’ REQUEST FOR DISCLOSURE
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PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff Flora Zarate respectfully prays
that Defendants Nicholas Conder and Batten & Shaw, Inc. be cited to appear and answer herein,
and that upon a final hearing of the cause, judgment be entered for the Plaintiff against
Defendants for damages consistent in keeping with this pleading; together with pre-judgment
interest at the maximum rate allowed by law; post-judgment interest at the legal rate, costs of

court; and such other and further relief to which Plaintiff may be entitled at law or in equity.
Respectfully submitted,

DAVID S. KOHM & ASSOCIATES
1414 W. Randol Mill Road, Suite 118
Arlington, Texas 76012

(817) 861-8400 - Telephone

(817) “Y _ Fax
By: Ye

David S. Kohm

State Bar No. 11658563
John M. Groce, Jr.
State Bar No. 00793860

ATTORNEYS FOR PLAINTIFF

 

PLAINTIFFS! ORIGINAL PETITION AND PLAINTIFFS’ REQUEST FOR DISCLOSURE
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FORM NO. 353-3 - CITATION
THE STATE OF TEXAS

To: BATTEN & SHAW INC ITS REGISTERED AGENT CORPORATION SERVICE

COMPANY DBA CSC-LAWYERS INCORPORATING SERVICE COMPANY
211 E. 7" ST STE 620

AUSTIN TX 78701-3218
GREETINGS:

You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the

expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the

clerk of the 192nd District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being FLORA ZARATE
Filed in said Court 24th day of May, 2013 against

NICHOLAS CONDER, ETAL

For Suit, said suit being numbered DC-13-05741, the nature of which demand is as follows:
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition DISCOVERY ATTACHED,

a copy of which accompanies this citation. If this citation is not served, it shall be returned
unexecuted.

WITNESS: GARY FITZSIMMONS, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office this 28th day of May, 2013.

ATTEST: GARY FITZSIMMONS, es Courts of Dailas, County, Texas
By.

, Deputy
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ATTY

CITATION

DC-13-05741

 

FLORA ZARATE
YS.
NICHOLAS CONDER, et al

ISSUED THIS
28th day of May, 2013
GARY FITZSIMMONS

Clerk District Courts,
Dallas County, Texas

By: EVETTE LAMB, Deputy

 

 

Attorney for Plaintiff
DAVID S KOHM
DAVID S KOHM & ASSOCIATES
1414 W RANDOL MILL RD STE 118
ARLINGTON TX 76012
817-861-8400

 

 

 
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Case No. : DC-13-05741
Court No.192nd District Court
Style: FLORA ZARATE

VS.

NICHOLAS CONDER, et al

Came to hand on the day of
within the County of __at

20 by delivering to the within named

 

OFFICER'S RETURN

, 20 » at o'clock -M. Executed at

o'clock -M. on the day of

 

 

_ each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery, The distance actually traveled by

me in serving such process was miles and my fees are as follows: To certify which witness my hand.

For serving Citation
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Signed and sworn to by the said

to certify which witness my hand and seal of office.

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By. Deputy
(Must be verified if served outside the State of Texas.)

before me this day of » 20

 

Notary Public. County.
Case 3:13-cv-0243@ Document 2 Filed 06/26/13 >. 36 of 57 PagelD 38

 

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(e.g., John Smith v. All American Insurance Co; In re Mary Aun Jones; In the Matter of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a ney civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should ¢ the best available at

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1414 W. Randol Mill Ra., Ste.
City/State/Zip:

Arlington, Texas 76012

Signature:

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126 (817) 861-8400

Defendant(s)/Respondent(s):

 

Fax: . ‘
Kicholas Conder
(817) 861-8906
Batten + Shaw INC
State Bar No:
11658563

{Attach additional page as necessary to list all parties]

 

1. Contact information for person completing case information sheet: Names of parties in case: ath y Person or entity completing sheet is:
eet # GTAttomby fof Plai ef gitoner
Name: Email: Plaintiff(s)/Petitioner(s): CJPro Se Plaintiff? Br
+) ‘Elfitle rv- D Age
David S. Kohm & Associates lawfirm@attorneykohm.com { (0 (Cv Zosote Clothes JN
Address: Telephone: ner aA as

- --Additional Parties in Child Support Case:
UE RUTy

Custodial Parent:

 

Non-Custodia! Parent:

 

Presumed Father:

 

 

2. Indicate case type, or identi

fy the most important issue in the case (select only I):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Post-judgment Ketions
Contract Injury or Damage Real Property Marriage Relationship - {non-Title IV-D)
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[1Consumer/DTPA (Construction Condemnation (Declare Marriage Void LJModification—Custody
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()Fraud/Misrepresentation Malpractice LiQuiet Title [IWith Children ‘Title IV-D
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LInsurance ak oor Vehicle Accident Matters Other Family Law Parent-Child Relationship
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(Other Contract: {Other Product Liability L)Seizure/Forfeiture [Name Change CI child Support
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Pre-indictment {_]Removal of Disabilities LJeestationa Parenting
j oe: Other: of Minority Grandparent Access
LlOther injury or Damage: oO (CJOther: L]Parentage/Patemity
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(Discrimination (_JAdministrative Appeal {_]Lawyer Discipline
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(CJTermination Compeiition CSecurities/Stock
[Workers’ Compensation LJCode Violations DTortious Interference
[Other Employment: (JForeign Judgment (Other:
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Tax . Probate & Mental Health
L_]Tax Appraisal Probate/Wills/Intestate Administration [JGuardianship—Adult
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LJOther Estate Proceedings Cother:
3. Indicate procedure or remedy, if applicable (may select more than l):
LJAppeal from Municipal or Justice Court L_]Dectaratory Judgment [_}Prejudgment Remedy
(JArbitration-retated LJGarnishment L}Protective Order
(Attachment (Jinterpleader CReceiver
(Bill of Review (License (JSequestration :
(Certiorari [Mandamus (Temporary Restraining Order/Injunction
LiCiass Action (Post-judgment CTumover

 

Llpess than $100,000 and no

 

LJOver $1,000,000

4, Indicate damages sought (do not select if it is a family law case):
L]Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees

m-monetary relief

ver $100, 000 but not more than $200,000
L]Over $200,000 but not more than $1,000,000

 

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PagelD 45

 
 

 

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Case 3:13-cv-0243@ Document 2 Filed 06/26/13 P@) 47 of 57 PagelD 49
Filed
13 June 14 P2:49
Gary Fitzsimmons
District Clerk
Dallas District

CAUSE NO, DC-13-05741

FLORA ZARATE, § INTHE DISTRICT COURT
PLAINTIFF, §
§
VS. §  192ND JUDICIAL DISTRICT
§
NICHOLAS CONDER AND BATTEN = §
& SHAW, INC., §
DEFENDANTS. § DALLAS COUNTY, TEXAS

DEFENDANTS' ORIGINAL ANSWER
TO THE HONORABLE JUDGE OF SAID COURT:

NOW COME, Nicholas Conder and Batten & Shaw, Inc., Defendants in the above-entitled
and numbered cause, and in response to Plaintiff's Original Petition state to the Court and jury the
following:

I.

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants enter this General

Denial, and Defendants deny generally, each and every, all and singular, the allegations contained in

Plaintiff's Original Petition and demand strict proof thereof.

WHEREFORE, PREMISES CONSIDERED, Defendants having fully answered herein, pray
that Plaintiff take nothing by reason of this suit, that Defendants go hence without day and recover costs
of Court, and for such other and further relief, both general and special, at law and in equity, to which

Defendants may be justly entitled.

 

DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE Page |

 

 
Case 3:13-cv-02430@ Document 2 Filed 06/26/13 rp 48 of 57 PagelD 50

Respectfully Submitted,

  

 

; {
VIONETPE DELGADY
Texas Bar No. 2401254

1301 E. Collins Bivd., Suite 490
Richardson, TX 75081

Direct Telephone: 214-570-6296
Main Telephone: 214-570-6300
Facsimile: 214-570-6262

ATTORNEYS FOR DEFENDANTS
NICHOLAS CONDER AND BATTEN &
SHAW, INC.
CERTIFICATE OF SERVICE
This is to certify that, on this the 14" day of June, 2013, a true and correct copy of the

foregoing document was forwarded to all counsel of record as follows:

David S. Kohm _ nd Delivery

David S. Kohm & Associates —V tncsimile

1414 W. Randol Mill Road, Suite 118 _____ Certified Mail, Return Receipt Requested
Arlington, Texas 76012 _______Receipted Commercial Delivery

   

Facsimile 817-861-8900 Regular U.S. Mail o

Attorney for Plaintiff,
Flora Zarate

 

Vionette Delgado \

 

DEFENDANTS’ ORIGINAL ANSWER AND REQUEST FOR DISCLOSURE Page 2
Case 3:13-cv-02437 Document 2 Filed 06/26/13 p49 of 57 PagelD 51

DAVID KLOSTERBOER & ASSOCIATES
1301 E, COLLINS BLVD., SUITE 490
RICHARDSON, TEXAS 75081

Not a Partnership or Professional Corporation.

VIONETTE DELGADO All attorneys are Employees of The Travelers DiRECT TEL: (214) 570-6296
ATTORNEY AT Law Indemnity Company MAIN TEL: (214) 570-6300
vdelgado@iravelers.com And its Property Casualty Affiliates FACSIMILE: (214) 570-6262

 

June 14, 2013

Via E-Filing

Clerk of the Court

192nd Judicial District Court
600 Commerce Street, Suite 101
Dallas, Texas 75202

Re: Cause No. DC-13-05741
Flora Zarate v. Nicholas Conder; Batten & Shaw, Inc.
In the 192nd Judicial District Court of Dallas County, Texas
Our File No. 2013040481

Dear Clerk:

Enclosed for filing please find Defendants’ Original Answer. Please file this pleading with the
Court’s papers in this matter and return a file-marked copy to my office via our e-filing service,

By copy of this correspondence, I am forwarding same to all counsel of record.
Thank you for your assistance in this regard.

Very ours,

Vionette'Detgado
VDD/clf
Enclosure

ce! Via Facsimile: 817-861-8900
David S. Kohm
David S. Kohm & Associates
1414 W, Rando! Mill Road, Suite 118
Arlington, Texas 76012
 

Case 3:13-cv-0243 Document 2. Filed 06/26/13 Pp SOL P| PagelD 52

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GO9896¢
DC-13-05741
§ IN THE DISTRICT COURT
FLORA ZARATE §
vs. § DALLAS COUNTY, TEXAS
NICHOLAS CONDER, et al §
§ 192™ JUDICIAL DISTRICT
§
MEDIATION ORDER

This case is appropriate for mediation pursuant to Section 154.001 et seq. of the Texas Civil Practice and
Remedies Code J STEPHEN HUNNICUTT @ Work: 214-361-6740, Fax: 214-691-5099 is appointed mediator in the
above case and all counsel are directed to contact mediator to arrange the logistics of mediation within 7 days from
the date of this Order. Any objection to this Order must be filed and served upon all parties and the mediator, and a
hearing must be requested, within 10 days from the date of receipt of this Order; an objection that is neither timely
filed nor ruled upon before the scheduled mediation may be waived.

Mediation is a mandatory but non-binding settlement conference, conducted with the assistance of the
mediator. Mediation is private, confidential and privileged from process and discovery. After mediation, the court will
be advised by the mediator, parties and counsel, only that the case did or did not settle. The mediator shall not be a
witness nor may the mediator’s records be subpoenaed or used as evidence. No subpoenas, citations, writs, or other
process shall be served at or near the location of any mediation session, upon any person entering, leaving or
aitending any mediation session.

The mediator will negotiate a reasonable fee with the parties which shall be divided and bome equally by the
parties uniess agreed otherwise, paid by the parties directly to the mediator, and taxed as costs. If the parties do not
agree upon the fee requested by the mediator, the court will set a reasonable fee, which shall be taxed as costs.
Each party and their counsel will be bound by the rules for mediation printed on the reverse hereof, and shall
complete the information forms as are furnished by the mediator.

Named parties shall be present during the entire mediation process and each corporate party must be
represented by an executive officer with authority to negotiate a settlement. Counsel, the parties and the mediator
shall agree upon a mediation date within 20 days from the date of this order. If no date can be agreed upon within
the 20 day period, the mediator shall select a date for the mediation and alf parties shall appear as directed by the
mediator.

The date scheduled by the mediator is incorporated in this Order as the date upon which the mediation shall
occur. in any event, the mediation shall be conducted no later than May 02, 2014.

Failure or refusal to attend the mediation as scheduled may result in the imposition of sanctions, as
permitted by faw, which may include dismissal or default judgment. Failure to mediate wilt not be considered cause
for continuance of the trial date. Referral to mediation is neither a substitute for nor a cause for delay of trial, and the
case will be tried if not settled. ‘

A report regarding the outcome of the mediation session is to be mailed by the mediator to the court, with a
copy to the ADR Coordinator, immediately after the mediation session.

st

JUDGE PRESIDING ¥ .

Signed June 19, 2013

 

cc: Counsel of Record
Mediator

 
 

 

Case 3:13-cv-0243 70 Document 2 Filed 06/26/13 Pp 51 of 57. PagelD 53

RULES FOR MEDIATION

1. Definition of Mediation. Mediation is a process under which an impartial person, the mediator, facilitates communication between the
parties to promote reconciliation, settlement or understanding among them. The mediator may suggest ways of resolving the dispute, but may not
impose his own judgment on the issues for that of the parties.

2. Conditions Precedent to Serving a Mediator. The mediator shall not serve as a mediator in any dispute in which he has any financial or
personal interest in the result of the mediation. Prior to accepting an appointment, the mediator shall disclose any circumstances likely to create a
presumption of bias or prevent a prompt meeting with the parties.

3. Authority of Mediator. The mediator does not have the authority to decide any issue for the parties, but will attempt to facilitate the
voluntary resolution of the dispute by the parties. The mediator is authorized to conduct joint and separate meetings with the parties and to offer
suggestions to assist the parties achieve settlement. If necessary, the mediator may also obtain expert advice concerning technical aspects of the
dispute, provided that the parties agree and assume the expenses of obtaining such advice, arrangements for obtaining such advice shall be made by
the mediator of the parties, as the mediator shall determine.

4. Parties Responsible for Negotiating Their Own Settlement. The parties understand that the mediator will not and cannot impose a
settlement in their case. The mediator, as an advocate for settlement, will use every effort to facilitate the negotiations of the parties. The mediator
does not warrant or represent that settlement will result from the mediation process. ,

5. Authority of Representatives. Party representatives must have authority to settle and all persons necessary to the decision to settle
shall be present. The names and addresses of such persons shall be communicated in writing fo all parties and the mediator.

6. Time and Place of Mediation. The mediator shalt fix the time of each mediation session. The mediation shalt be held at the office of the
mediator or at any other convenient location agreeable to the mediator and the parties, as the mediator shall determine.

7. identification of Matters in Dispute. Prior to the first scheduled mediation session, each party shall provide the mediator and all
attorneys of record with an information sheet and request for mediation on the form provided by the mediator setting forth its position with regard to the
issues that need to be resolved, At or before the first session, the parties will be expected to produce all information reasonably required for the
mediator to understand the issues presented. The mediator may require any party to supplement such information.

8. Privacy. Mediation sessions are private. The parties and their representatives may attend mediation sessions. Other persons may
attend only with the permission of the parties and with the consent of the mediator.

9. Confidentiality. Confidential information disclosed to a mediator by the parties or by witnesses in the course of the mediation shall not
be divulged by the mediator. All records, reports or other documents received by a mediator while serving in that capacity shall be confidential. The
mediator shali not be compelled to divulge such records or to testify in regard to the mediation in any adversary proceeding or judicial forum except as
may be provided in Section 154.073 of the Texas Civil Practice and Remedies Code. Any party that violates this order may be subject to the
imposition of sanctions as may be permitted by law. The parties shall maintain the confidentiality of the mediation and shall not rely on, or introduce as
evidence in any arbitral, judicial or other proceeding: A) Views expressed or suggestions made by another party with respect to a possible settlement of
the dispute; B) Admissions made by another party in the course of the mediation proceedings; C) Proposals made or views expressed by the mediator,
or D) The fact that another party had or had not indicated willingness to accept a proposal for settlement made by the mediator.

10. No Stenographic Record. There shall be no stenographic record of the mediation process and no person shall tape record any portion
of the mediation session.

41. No Service of Process At or Near The Site of The Mediation Session. No Subpoenas, summons, complaints, citations, writs or other
process may be served upon any person at or near the site of any mediation session upon any person entering, attending or leaving the session.

12. Termination of Mediation. The mediation shail be terminated: A) By the execution of a settlement agreement by. the parties; B) By
declaration of the mediator to the effect that further efforts at mediation are no longer worthwhile; or C) After the completion of one full mediation
session, by a written declaration of a party or parties to the effect that the mediation proceedings are terminated.

13. Interpretation and Application of Rules. The mediator shail interpret and apply these rules.

14, Fees and Expenses. The mediator's daily fee, if agreed upon prior to mediation, shall be paid in advance of each mediation day. The
expenses of witnesses for either side shall be paid by the party producing such witnesses. All other expenses of the mediation, including fees and
expenses of the mediator, and the expenses of any witness and the cost of any proofs or expert advice produced at the direct request of the mediator,
shall be borne equally by the parties unless they agree otherwise.
 

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192nd District Court
George L Allen, Sr. Courts Building
600 Commerce Street
Dallas, Texas 75202-4627

Chambers of Judge Craig Smith

PRE-TRIAL ORDER
DC-13-05741

FLORA ZARATE
Vs.
NICHOLAS CONDER, et al

This case is set for Non-Jury Trial on June 02, 2014 @ 9:00 A.M.

This date was chosen because it seems realistic based on the information on file. You should
consider this to be a final setting and be prepared to go to trial.

Alternative Dispute Resolution (‘ADR’) by Mediation is to be accomplished according to the
existing ADR Order.

Discovery is to be commenced, accomplished and completed pursuant to Texas Rule of Civil
Procedure 190 et seq.

No continuances of the trial setting or the discovery deadline will be granted except upon good
cause shown following a hearing on a Motion of Continuance.

Trial announcements must be made in accordance with Rule 3.02 et seq., Dallas Civil Court
Rules.

No dispositive motions will be heard within 30 days of the trial date. Any Daubert/Robinson
Challenges must be set and heard no later than 30 days before trial.

Plaintiff/Plaintiff’s counsel shall serve a copy of this Order on any currently named defendant(s)
answering after this date.

Signed Jt June 19, 2013
Cok Ss }

DISTRICT waste

 
 

Case 3:13-cv-0243@ Document 2 Filed 06/26/13 Me 53 of 57
United States District Court

Northern District of Texas

 

 

Supplemental Civil Cover Sheet For Cases Removed | o.7K.
From State Court

 

3-13CV-2437D
This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
District Clerk’ s Office. Additional sheets may be used as necessary.

State Court Information:

Please identify the court from which the case is being removed and specify the number
assigned to the case in that court.

Court Case Number

192 Judicial District Court of Dallas County DC-13-05741

2. Style of the Case:

Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include their
bar number, firm name, correct mailing address, and phone number (including area code.)

Party and Party Type Attorney(s)
Flora Zarate (Plaintiff) David S. Kohm

Texas Bar No. 11658563

John M. Groce, Jr.

Texas Bar No. 00793860

David S. Kohm & Associates

1414 W. Randol Mill Road, Suite 118
Arlington, Texas 76012

(817) 861-8400 — Main

(817) 861-8900 - Fax

Nicholas Conder (Defendant) Vionette D. Delgado
David Klosterboer & Associates
1301 E. Collins Blvd., Suite 490
Richardson, Texas 75081
(214) 570-6300 — Main
(214) 570-6296 — Direct
(214) 570-6262 — Fax
Texas Bar Number: 24012546
 

 

Case 3:13-cv-0243@ Document 2 Filed 06/26/13 p® 54 of 57 PagelD 56
Supplemental Civil Cover Sheet

Page 2

Batten & Shaw, Inc. (Defendant) Vionette D. Delgado
Texas Bar Number: 24012546
David Klosterboer & Associates
1301 E. Collins Blvd., Suite 490
Richardson, Texas 75081
(214) 570-6300 — Main
(214) 570-6296 — Direct
(214) 570-6262 — Fax

3. Jury Demand:

Was a Jury Demand made in State Court? _ Yes X No

If "Yes," by which party and on what date?

 

Party Date
4, Answer:
Was an Answer made in State Court? X Yes_ No

If "Yes," by which party and on what date?

Defendants Nicholas Conder and

 

Batten & Shaw, Inc. 06/14/2013
Party Date
5. Unserved Parties:

The following parties have not been served at the time this case was removed:
Party Reason(s) for No Service

Not applicable

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for that
change:

Party Reason

Not applicable
 

Case 3:13- v-o2aa Document 2 Filed 06/26/13 p@ 55 of 57 ~PagelD 57
Supplemental Civil Cover Sheet
Page 3

7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

litigation:
Party Claim(s)
Plaintiff Automobile Accident.

Alleges negligence.

Alleges negligence per se.
Alleges gross negligence.
Alleges negligent entrustment.
Alleges Respondeat Superior.
Case. 3 13- 2-0v-0243 Document 2 Filed 06/26/13 ri 56 of 57.

JS 44 (Rev. 09/11)

The JS 44 civil coversheet and the information contained herein neither re

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by loca! rules of court. This form, approved by the Judicial Conference of the United
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

OVER SHEET

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I. (a) PLA

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(b) County of Residence of First Listed Piaintiff Dallas County, TX

(EXCEPT IN U.S. PLAINTIFF CASES)

Sr Rohim, John

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Nore A

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roce, Jr.,

BRS ROHM & ASSOCIATES,

1414 W. Rando! Mill oad, Suite 118, Arlington, TX 76012; (817)

861-8400

DEFENDANTS

NOTE:

Attomeys (ifKnown)

 

NICHOLAS CONDER; BATTEN & SH

County of Residence of First Listed Defendant

 

 

Douglas County, CO
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Vionette D. Delgado, DAVID KLOSTERBOER & ASSOCIATES, 1301
E. Collins Blvd., Suite 490, Richardson, TX 75081; (214) 570-6300

 

Il. BASIS OF JURISDICTION

O 1 US. Government
Plaintiff

2 U.S. Government
Defendant

    

    

 
   

 

O 3 Federal Question

(U.S. Government Not a Party)

& 4 Diversity

(Indicate Citizenship of Parties in Item III)

  

(Place an “X” in One Box Only)

IV. NATURE OF SUIT (Place an “X” in One Box Only}

  

 

  

   

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)

(For Diversity Cases Only) and One Box for Defendant)
PIF DEF PTF DEF
Citizen of This State & 1 © 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State O 2  & 2 Incorporated and Principal Place ao 5 &5
of Business In Another State
Citizen or Subject of a a3 G 3. Foreign Nation G6 6 O86

Foreign Country

 

 

   

  

 

 

       
   

 

110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure (7 422 Appeal 28 USC 158 375 False Claims Act
0 120 Marine 0 310 Airplane C1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 400 State Reapportionment
130 Miller Act (1315 Aisplane Product Product Liability 1 690 Other 28 USC 157 OF 410 Antitrust
O 140 Negotiable Instrument Liability ( 367 Health Care/ 430 Banks and Banking
(1 150 Recovery of Overpayment {1 320 Assault, Libel & Phannaceutical i ! O 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights OF 460 Deportation
0 151 Medicare Act 0 330 Federal Employers’ Product Liability © 830 Patent O) 470 Racketeer Influenced and
0 152 Recovery of Defaulted Liability f1 368 Asbestos Personal (1 840 Trademark Corrupt Organizations
Student Loans C340 Marine Injury Product OF 480 Consumer Credit
(Excl. Veterans) 0 345 Marine Product Liability BGR BEURL 0 490 Cable/Sat TV
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY | (1 710 Fair Labor Standards qa 861 IA (1395 ff) C1 850 Securities/Commodities/
of Veteran’s Benefits & 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) Exchange
1 160 Stockholders’ Suits 0} 355 Motor Vehicle O 371 Truth in Lending 0) 720 Labor/Mgmt. Relations 0 863 DIWC/DIWW (405(g)) | 1 890 Other Statutory Actions
0 190 Other Contract Product Liability 380 Other Personal C1 740 Railway Labor Act 1 864 SSID Title XVI C1 891 Agricultural Acts
(J 195 Contract Product Liability {0 360 Other Personal Property Damage (J 751 Family and Medical CF 865 RSI (405(g)) O 893 Environmental Matters
0 196 Franchise Inj OF 385 Property Damage Leave Act 11 895 Freedom of Information
O} 362 Personal Injury - Product Liability © 790 Other Labor Litigation Act
i (1 791 Empl. Ret. Inc. 896 Arbitration
_PROE : _ PRI Security Act (EDE 1 899 Administrative Procedure
0 210 Land ‘Condemnation a 440 Other Civil Rights o 510 Motions to Vacate (J 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
220 Foreclosure 0 441 Voting Sentence or Defendant) Agency Decision
(7 230 Rent Lease & Ejectment CF 442 Employment Habeas Corpus: O 871 IRS—Third Party 1 950 Constitutionality of
© 240 Torts to Land 0 443 Housing/ 0 530 General 26 USC 7609 State Statutes
O 245 Tort Product Liability Accommodations O 535 Death Penalty Y |
O 290 All Other Real Property 0 445 Amer. w/Disabilities - | (1 540 Mandamus & Other |( 462 Naturalization ‘Application
Employment OF 550 Civil Rights C) 463 Habeas Corpus -
(C0 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other 01 560 Civil Detainee - (Prisoner Petition)
1 448 Education Conditions of (J 465 Other Immigration.
Confinement Actions
V. ORIGIN (Place an “X” in One Box Only) T ferred fi
11 Original = & 2 Removed from C1 3 Remandedfrom 1 4 Reinstatedor O 5 arothor district, © 6 Multidistrict
Proceeding State Court Appellate Court Reopened (specify) Litigation

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 USC 1332(a)

Brief description of cause:
Motor vehicle accident causing injuries

 

 

 

 

 

 

VIL REQUESTED IN Cl CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 200,000.00 JURY DEMAND: Yes No
VII RELATED CASE(S) /
PENDING OR CLOSED: °°" SUDGE
DATE SIGNATURE OF ATTORNEY OF RECORD
06/26/2013 /s/ VIONETTE D. DELGADO
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

 

  
Case 3:13-cv-02437-D Document 2 Filed 06/26/13 Page 57 of57 PagelD 59

DAVID KLOSTERBOER & ASSOCIATES
1301 E. COLLINS BLVD., SUITE 490
RICHARDSON, TEXAS 75081

Not a Partnership or Professional Corporation.

VIONETTE DELGADO All attorneys are Employees of The Travelers DIRECT TEL: (214) 570-6296
ATTORNEY AT LAW _ Indemnity Company _ MAIN TEL: (214) 570-6300
vdelgado@travelers.com And its Property Casualty Affiliates FACSIMILE: (214) 570-6262

 

 

TO:

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

1100 COMMERCE STREET, ROOM 1452
DALLAS, TX 75242

 

Please file original plus one copy and have one copy file-stamp:
documents:

> Civil Cover Sheet;

> Supplemental Civil Cover Sheet;

> Defendants Nicholas Conder and Batten & Shaw, Inc.’s Notice of Removal;
> Certificate of Interested Parties.

A $400 check is also attached for the filing fee.

Please return file-stamped copy to our office today.

Billing Information:
Send Invoice to the attention of

Vionette Delgado
David Klosterboer & Associates
1301 E. Collins Blvd., Suite 490
Richardson, Texas 75081
Claim No. 532 AB CMB5226 K.

Should you have any questions, please contact Yvonne White at (214) 570-6299. Thank you.
